Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 1 of 13 Page ID #:16

                                                                           Service of Process
                                                                           Transmittal
                                                                           08/27/2020
                                                                           CT Log Number 538162939
    TO:      Chris Dzbanski
             Ford Motor Company
             1 American Rd Whq 421-E6
             Dearborn, MI 48126-2701

    RE:      Process Served in California

    FOR:     Ford Motor Company (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                 Sara B. Peraza, etc. and Joseph Parker, etc., Pltfs. vs. Ford Motor Company, etc., et
                                     al., Dfts.
    DOCUMENT(S) SERVED:              Summons, Complaint, Cover Sheet
    COURT/AGENCY:                    San Luis Obispo County - Superior Court, CA
                                     Case # 20CVP0280
    NATURE OF ACTION:                Product Liability Litigation - Lemon Law - 2019 Ford F-250, VIN
                                     1FT7W2BT6ICEF93773
    ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA
    DATE AND HOUR OF SERVICE:        By Process Server on 08/27/2020 at 14:15
    JURISDICTION SERVED :            California
    APPEARANCE OR ANSWER DUE:        Within 30 days after service
    ATTORNEY(S) / SENDER(S):         Michael H. Rosenstein
                                     California Consumer Attorneys, P.c.
                                     10900 Wilshire Blvd, Suite 300
                                     Los Angeles, CA 90024
                                     310-872-2600
    ACTION ITEMS:                    CT has retained the current log, Retain Date: 08/28/2020, Expected Purge Date:
                                     09/02/2020

                                     Image SOP

                                     Email Notification, Chris Dzbanski cdzbansk@ford.com

    SIGNED:                          C T Corporation System
    ADDRESS:                         1999 Bryan St Ste 900
                                     Dallas, TX 75201-3140
    For Questions:                   877-564-7529
                                     MajorAccountTeam2@wolterskluwer.com




                                                                           Page 1 of 1 / SK
                                                                           Information displayed on this transmittal is for CT
                                                                           Corporation's record keeping purposes only and is provided to
                                                                           the recipient for quick reference. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action. Signatures on certified mail receipts
                                                                           confirm receipt of package only, not contents.
Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 2 of 13 Page ID #:17



                                                               Wolters Kluwer

                             PROCESS SERVER DELIVERY DETAILS




Date:                             Thu, Aug 27, 2020

Server Name:                      Jimmy Lizama

Location:                         LOS ANGELES, CA-LA




                             j


Entity Served                     FORD MOTOR COMPANY
                     ■   ■   t

Agent Name                    : CT CORPORATION SYSTEM

Case Number                       20CVP-0280
                             t

Jurisdiction                      CA-LA
                             -i
        Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 3 of 13 Page ID #:18
                                                                                                                                                             SUM-100
                                            SUMMONS                                                                            FOR OFFICE USE ONLY

                                   (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:                                                                                                   ELECTRONICALLY
 (AVISO AL DEMANDADO):                                                                                                      FILED
 FORD MOTOR COMPAI^, a Delaware Corporation, and DOES 1 through
 10, inclusive                                                                                                            8/25/2020 11:18 AM
                                                                                                                         aw LUIS oaispo surewot court
YOU ARE BEING SUED BY PLAINTIFF:                                                                                         BY:.^
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                            H. Es^iuiL Deputy Clerk
 SARA B. PERAZA, an individual and JOSEPH PARKER, an individual


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp). your county law library, or Ihe courthouse nearest you. if you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org). the California Courts Online Self-Help Center
  (www.courtinfo.ce.gov/selfhelp). or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of S10.000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 IA VISOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versidn. Lea ia informacidn a
 continuacidn.
     Tone 30 DiAS DE CALENDARiO despuds de que ie entreguen esta citacidn y papeies iegales para presenter una respuesta por escrito en esta
 corte y hecer que se entregue una copia ai demandante. Una carta o una llamada teiefdnica no lo protegen. Su respuesta por escrito tiene que estar
 en fonnato legai correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usarpara su respuesta.
 Puede encontrar estos formulanos de la corte y mds informacidn en el Centro de Ayuda de las Cortes de California fwww.sucorte.ca.govj. en la
 biblioteca de leyes de su condado o en la corte que Ie quede mds cerca. Si no puede pagarle cuota de presentacidn, pida at secretario de la code
 que Ie dd un formulario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder et caso por incumplimiento y la code Ie
 podrd guitar su sueldo. dinero y bienes sin mds advedencia.
    Hay otros requisites legates. Es recomendable que Heme a un ebogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisibn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisites para obtener servicios legates gratuitos de un        .
 programs de servicios iegales sin fines de lucro. Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services.
 (VvwwJawhelpcalifornia.org^. en el Centro de Ayuda de las Codes de California. (Www.sucorte.ca.gov^ o ponidndose en contacto con la code o el
 colegio de abogados locales. A VISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperacidn de $10,000 6 mbs de valor recibida mediante un acuerdo o una concesibn de erbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la code antes de que la code pueda desechar el caso.
The name and address of the court is:■       County of San Luis Obispo Superior Court                     CASE NUMBER
(El nombre y direcciOn de la code es):                                                                    (Numero del Caso):
                                                                                                                                 20CVP-0280
Paso Robles Branch, 901 Park Street, Paso Robles, CA 93446

The name, address, and telephone number of plaintiff s attorney, or plaintiff without an attorney, is:
(El nombre, la direccidn y el numero de telbfono del ebogado del demandante. o del demandante que no tiene abogado, es):
Sepehr Daghighian, Esq., CALIFORNIA CONSUMER ATTORNEYS, P.C.
 10900 Wilshire Blvd, Suite 300, Los Angeles. CA 90024 - Tel: (310) 872-2600                                    /s/MIchael Powell
DATE: 8/25/2020 11:18 AM                                                                                                 , Deputy
(Fecha)                                                                                                                                                      (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-O'                 [
(Para prveba de entrega de esta citatidn use el formulario Proof of Service of Summons, (POS-010)).
 (SEAL)
                                  NOTICE TO THE PERSON SERVED: You are served
                                  1.    ] as an individual defendant.
                                  2- [ ] as the person sued under the fictitious name of (specify):

                                     3. CX      on behalf of (spec/^j; Ford Motof Company, a Delaware Corporation
                                         under: LX I CCP 416.10 (corporation)                             I    I       CCP 416.60 (minor)
                                                  I    I CCP 416.20 (defunct corporation)        I             I       CCP 416.70 (conservatee)
                                                  I    I CCP 416.40 (association or partnership) [                 ]   CCP 416.90 (authorized person)
                                                  I    I other (specify):
                                     4. [       by personal delivery on (cfafe):
                                                                                                                                                               Paao 1 of 1
Form Adopled for Mandatory Use
  Judicial Council of California                                      SUMMONS                                                       Code of Civil Procecture §§ 012.20, 065
  SUM-100 [Rev. Juty 1.2009)                                                                                                                          www.courtintoca.gov
     Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 4 of 13 Page ID #:19

                                                                       ELECTRONICALLY
                                                                           FILED
      CALIFORNIA CONSUMER ATTORNEYS, P.C.                               8/25/2020 11:18 AM
 1
      Michael H. Rosenstein (SBN 169091)
                                                                        SAH LUIS OaiiPO SURERIOT COURT
 2    mhr@calattomeys.com                                               BY
                                                                             H.         DepmfCtetlt
      Sepehr Daghighian (SBN 239349)
 3    sd@calattomeys.com
      Lauren C. Martin (SBN 315013)
 4
      lcm@caIattomeys.com
 5    10900 Wilshire Blvd, Suite 300
      Los Angeles, CA 90024
 6    Telephone: (310) 872-2600
 7    Facsimile: (310) 730-7377

 8    Attorneys for Plaintiffs,
      SARA B. PERAZA AND
 9    JOSEPH PARKER
10                                 SUPERIOR COURT OF CALIFORNIA
11                                   COUNTY OF SAN LUIS OBISPO
12
      SARA B. PERAZA, an individual and                Case No.; 20CVP-0280
13    JOSEPH PARKER, an individual,                    Unlimited Jurisdiction
14                                                     COMPLAINT
                     Plaintiffs,
15
                                                        1. VIOLATION OF SONG-BEVERLY
             vs.                                           ACT - BREACH OF EXPRESS
16
                                                           WARRANTY
17    FORD MOTOR COMPANY, a Delaware                    2. VIOLATION OF SONG-BEVERLY
      Corporation, and DOES 1 through 10, inclusive,       ACT - BREACH OF IMPLIED
18                                                         WARRANTY
19                                                      3. VIOLATION OF THE SONG-
                     Defendants.                           BEVERLY ACT SECTION
20                                                         1793.2(b)

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                                               COMPLAINT
         Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 5 of 13 Page ID #:20




     1               Plaintiffs, SARA B. PERAZA, an individual and JOSEPH PARKER, an individual, allege
     2     as follows against Defendants FORD MOTOR COMPANY, a Delaware Corporation (“Ford Motor
 3         Company ), and DOES 1 through 10 inclusive, on information and belief, formed after a reasonable
 4         inquiry under the circumstances:
 5                                            DEMAND FOR JURY TRIAT.
 6                   1.    Plaintiffs, Sara B. Peraza and Joseph Parker, hereby demand trial by jury in this
 7        action.
 8                                            GENERAL ALLEGATIONS
 9                  2.     Plaintiffs, Sara B. Peraza and Joseph Parker, are individuals residing in the City of
10        San Miguel, State of California.
11                  3.     Defendant Ford Motor Company is and was a Delaware Corporation operating and
12        doing business in the State of California.
13                  4.     These causes of action arise out of the warranty obligations of Ford Motor Company
14        in connection with a vehicle purchased by Plaintiffs and for which Ford Motor Company issued a
15        written warranty.
16                  5.     Plaintiffs do not know the true names and capacities, whether corporate, partnership,
17        associate, individual or otherwise of Defendant issued herein as Does 1 through 10, inclusive, under
18        the provisions of section 474 of the California Code of Civil Procedure. Defendant Does 1 through
19        10, inclusive, are in some manner responsible for the acts, occurrences and transactions set forth
20        herein, and are legally liable to Plaintiffs. Plaintiffs will seek leave to amend this Complaint to set
21        forth the true names and capacities of the fictitiously named Defendant, together with appropriate
22        charging allegations, when ascertained.
23                  6.     All acts of corporate employees as alleged were authorized or ratified by an officer,
24        director, or managing agent of the corporate employer.
25                  7.    Each Defendant, whether actually or fictitiously named herein, was the principal,
26        agent (actual or ostensible), or employee of each other Defendant, and in acting as such principal or
27        within the course and scope of such employment or agency, took some part in the acts and omissions
28        hereinafter set forth by reason of which each Defendant is liable to Plaintiffs for the relief prayed for

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                                                       COMPLAINT
     Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 6 of 13 Page ID #:21




 1    herein.
 2              8.    On August 25, 2019, Plaintiffs purchased a new 2019 Ford F-250 from Paso Robles
 3     Ford, located in Paso Robles in the County of San Luis Obispo, having VIN No.
 4     1FT7W2BT6ICEF93773 ("the Subject Vehicle”). Express warranties accompanied the sale of the
 5    Subject Vehicle to Plaintiffs by which Ford Motor Company undertook to preserve or maintain the
 6    utility or performance of Plaintiffs’ vehicle or to provide compensation if there was a failure in such
 7    utility or performance.
 8              9.    The Subject Vehicle was delivered to Plaintiffs with serious defects and
 9    nonconformities to warranty and developed other serious defects and nonconformities to warranty
10    including, but not limited to, an extremely serious and dangerous suspension problem impacting the
11    driver’s ability to control the vehicle, commonly referred to as a “death wobble.”
12              10.   Plaintiffs hereby revoke acceptance of the sales contract.
13              II.   Pursuant to the Song-Beverly Consumer Warranty Act (herein after the "Act") Civil
14    Code sections 1790 et seq. the Subject Vehicle constitutes "consumer goods” used primarily for
15    family or household purposes, and Plaintiffs have used the vehicle primarily for those purposes.
16              12.   Plaintiffs are a "buyer" of consumer goods under the Act.
17              13.   Defendant Ford Motor Company is a "manufacturer" and/or “distributor" under the
18    Act.
19              14.   To the extent that one or more class action lawsuits have been filed or are filed with
20    respect to the nonconformities affecting Plaintiffs’ vehicle, without conceding the necessity of
21    supplying such notice, Plaintiffs hereby provides notice to Defendant and/or Defendant’s agents of
22    Plaintiffs’ intent to opt-out and be excluded from the settlement class of said class action lawsuit(s).
23              15.   Plaintiffs hereby demand trial by jury in this action.
24                                        FIRST CAUSE OF ACTION
25                    Violation of the Song-Beverly Act - Breach of Express Warranty
26              16.   Plaintiff incorporates herein by reference, each and every allegation contained in the
27    preceding and succeeding paragraphs as though herein fully restated and re-alleged.
28              17.   Express warranties accompanied the sale of the vehicle to Plaintiffs by which Ford

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                                                    COMPLAINT
         Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 7 of 13 Page ID #:22




     1     Motor Company undertook to preserve or maintain the utility or performance of Plaintiffs’ vehicle
 2         or to provide compensation if there was a failure in such utility or performance.
 3                 18.    The Subject Vehicle was delivered to Plaintiffs with serious defects and
 4         nonconformities to warranty and developed other serious defects and nonconformities to warranty
 5         including, but not limited to, an extremely serious and dangerous suspension problem impacting the
 6        driver’s ability to control the vehicle, commonly referred to as a “death wobble.”
 7                19.     Pursuant to the Song-Beverly Consumer Warranty Act (herein after the "Act") Civil
 8        Code sections 1790 et seq. the vehicle constitutes "consumer goods” used primarily for family or
 9        household purposes, and Plaintiffs have used the Subject Vehicle primarily for those purposes.
10                20.     Plaintiffs are the "buyer" of consumer goods under the Act.
11                21.     Defendant Ford Motor Company is a "manufacturer" and/or “distributor" under the
12        Act.
13                22.     The foregoing defects and nonconformities to warranty manifested themselves in the
14        Subject Vehicle within the applicable express warranty period. The nonconformities substantially
15        impair the use, value and/or safety of the vehicle.
16                23.     Plaintiffs delivered the vehicle to an authorized Ford Motor Company repair facility
17        for repair of the nonconformities.
18                24.     Defendant was unable to conform Plaintiffs’ vehicle to the applicable express after a
19        reasonable number of repair attempts.
20                25.     Notwithstanding Plaintiffs’ entitlement, Defendant Ford Motor Company has failed
21        to either promptly replace the new motor vehicle or to promptly make restitution in accordance with
22        the Song-Beverly Act.
23                26.     By failure of Defendant to remedy the defects as alleged above, or to issue a refund
24        or replacement vehicle. Defendant is in breach of its obligations under the Song-Beverly Act.
25                27.     Under the Act, Plaintiffs are entitled to reimbursement of the price paid for the
26        vehicle less that amount directly attributable to use by the Plaintiffs prior to the first presentation of
27        the nonconformities.
28                28.     Plaintiffs are entitled to all incidental, consequential, and general damages resulting

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                                                        COMPLAINT
         Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 8 of 13 Page ID #:23




     1    from Defendant’s failure to comply with its obligations under the Song-Beverly Act.
 2                29.    Plaintiffs are entitled under the Song-Beverly Act to recover as part of the judgment
 3        a sum equal to the aggregate amount of costs and expenses, including attorney's fees, reasonably
 4        incurred in connection with the commencement and prosecution of this action.
 5                30.    Because Defendant willfully violated the Song-Beverly Act, Plaintiffs are entitled in
 6        addition to the amounts recovered, a civil penalty of up to two times the amount of actual damages
 7        for Ford Motor Company’s willful failure to comply with its responsibilities under the Act.
 8                                         SECOND CAUSE OF ACTION
 9                       Violation of the Song-Beverly Act - Breach of Implied Warranty
10                31.    Plaintiffs incorporate herein by reference each and every allegation contained in the
11        preceding and succeeding paragraphs as though herein fully restated and re-alleged.
12                32.    Ford Motor Company and its authorized dealership at which Plaintiffs purchased the
13        Subject Vehicle had reason to know the purpose of the Subject Vehicle at the time of sale of the
14        Subject Vehicle. The sale of the Subject Vehicle was accompanied by implied warranties provided
15        for under the law.
16               33.     Among other warranties, the sale of the Subject Vehicle was accompanied by an
17        implied warranty that the Subject Vehicle was merchantable pursuant to Civil Code section 1792.
18               34.     The Subject Vehicle was not fit for the ordinary purpose for which such goods are
19        used because it was equipped with one or more defective vehicle systems/components.
20               35.     The Subject Vehicle did not measure up to the promises or facts stated on the
21        container or label because it was equipped with one or more defective vehicle systems/components.
22               36.     The Subject Vehicle was not of the same quality as those generally acceptable in the
23        trade because it was sold with one or more defective vehicle systems/components which manifest as
24        an extremely serious and dangerous suspension problem impacting the driver’s ability to control the
25        vehicle, commonly referred to as a “death wobble.”
26               37.     Upon information and belief, the defective vehicle systems and components were
27        present at the time of sale of the Subject Vehicle; thus, extending the duration of any implied
28        warranty under Mexw v. Rinker Boat Co.. Inc. (2009) 174 Cal.App.4th 1297, 1304-1305 and other

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                                                     COMPLAINT
     Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 9 of 13 Page ID #:24




 1    applicable laws.
 2            38.     Plaintiffs are entitled to justifiably revoke acceptance of the Subject Vehicle under
 3    Civil Code, section 1794, etseq;
 4            39.     Plaintiffs hereby revoke acceptance of the Subject Vehicle.
 5            40.     Plaintiffs are entitled to replacement or reimbursement pursuant to Civil Code,
 6    section 1794, et seq.
 1            41.     Plaintiffs are entitled to rescission of the contract pursuant to Civil Code, section
 8     1794, etseq. and Commercial Code, section 2711.
 9            42.     Plaintiffs are entitled to recover any incidental, consequential, and/or “cover”
10    damages under Commercial Code, sections 2711,2712, and Civil Code, section 1794, etseq.
11                                       THIRD CAUSE OF ACTION
12                            Violation of the Song-Beverly Act Section 1793.2(b)
13            43.     Plaintiffs incorporate herein by reference each and every allegation contained in the
14    preceding and succeeding paragraphs as though herein fully restated and re-alleged.
15            44.     Pursuant to Civil Code, section 1793.2, subdivision (a) a manufacturer that sells
16    consumer goods in California, for which it has made an express warranty, shall maintain service and
17    repair facilities or designate and authorize independent service and repair facilities to carry out the
18    terms of those warranties.
19            45.     Pursuant to Civil Code, section 1793.2, subdivision (b), when service and repair of
20    goods is necessary because they do not conform with the applicable express warranties, service and
21    repair shall be commenced within a reasonable time by the manufacturer or its representative.
22            46.     Civil Code, section 1793.2, subdivision (b) further states that goods shall be serviced
23    or repaired so as to conform to the applicable warranties within 30 days and/or within a reasonable
24    time.
25            47.     The sale of the Subject Vehicle was accompanied by express warranties, including a
26    warranty guaranteeing that the Subject Vehicle was safe to drive and not equipped with defective
27    parts, including the electrical system.
28            48.     Plaintiffs delivered the Subject Vehicle to Ford Motor Company’s authorized service

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                                                   COMPLAINT
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 1     representatives on multiple occasions. The Subject Vehicle was delivered for repairs of defects,
 2     which amount to a nonconformities to the express warranties that accompanied the sale of the
 3     Subject Vehicle.
 4             49.     Defendant’s authorized facilities did not conform the Subject Vehicle to warranty
 5     within 30-days and/or commence repairs within a reasonable time and Ford Motor Company has
 6     failed to tender the Subject Vehicle back to Plaintiffs in conformance with its warranties within the
 7     timeframes set forth in Civil Code section 1793.2(b).
 8             50.     Plaintiffs are entitled to justifiably revoke acceptance of the Subject Vehicle under
 9     Civil Code, section 1794, etseq\
10             51.     Plaintiffs hereby revoke acceptance of the Subject Vehicle.
11             52.     Plaintiffs are entitled to replacement or reimbursement pursuant to Civil Code,
12     section 1794, el seq.
13-            53.     Plaintiffs are entitled to rescission of the contract pursuant to Civil Code section 1794,
14     et seq. and Commercial Code, section 2711.
15             54.     Plaintiffs are entitled to recover any “cover” damages under Commercial Code
16     sections 2711,2712, and Civil Code, section 1794, et seq.
17             55.     Plaintiffs are entitled to recover all incidental and consequential damages pursuant to
18     1794 et seq and Commercial Code sections, 2711,2712, and 2713 e/ seq.
19             56.    Plaintiffs are entitled in addition to the amounts recovered, a civil penalty of up to
20     two times the amount of actual damages in that Ford Motor Company has willfully failed to comply
21     with its responsibilities under the Act.
22                                            PRAYER FOR RELIEF
23           WHEREFORE, Plaintiffs prays for judgment against Defendants, as follows:
24            1.      For general, special and actual damages according to proof at trial;
25           2.       For rescission of the purchase contract and restitution of all monies expended;
26           3.       For diminution in value;
27           4.       For incidental and consequential damages according to proof at trial;
28           5.       For civil penalty in the amount of two times Plaintiffs’ actual damages;

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                                                    COMPLAINT
     Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 11 of 13 Page ID #:26




 1            6.      For prejudgment interest at the legal rate;
 2            7.      For reasonable attorney's fees and costs and expenses of suit; and
 3            8.      For such other and further relief as the Court deems just and proper under the
 4                    circumstances.
 5
        Dated: August 25. 2020                  CALIFORNIA CONSUMER ATTORNEYS, P.C.
 6
 7
 8                                              Michael H. Rosenstein, Esq.
                                                Sepehr Daghighian, Esq.
 9                                              Lauren C. Martin, Esq.
                                                Attorneys for Plaintiffs,
10                                              SARA B. PERAZA AND
                                                JOSEPH PARKER
11
12             Plaintiffs, SARA B. PERAZA AND JOSEPH PARKER, hereby demand trial by jury in
13     this action.

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                                                  COMPLAINT
        Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 12 of 13 Page ID #:27
                                                                                       CM-010
_ATTORNEY OR PARTY WITHOUT ATTORNEY (Neme, Stole Bor number, and address):                                                         FOR OFFICE USE ONLY
   Michael H. Rosenstein (SBN 169091) | SepehrDaghighian (SBN 239349)
   CALIFORNIA CONSUMER ATTORNEYS, P.C.
. 10900 Wilshire Blvd, Suite 300, Los Angeles, CA 90024                                                                      ELECTRONICALLY
      TELEPHONE NO,; (^10) 872-2600                    FAX NO.; (310) 730-7377
 ATTORNEY FOR (Nome): Plaintiffs; Sara B. Peraza and Joseph Parker                                                                FILED
SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Luis ObispO                                                                      8/25/2020 11:18 AM
     STREET ADDRESS: 901 Park Street
     MAILING ADDRESS: 901 Park Street                                                                                         9AH UJtS OaiSPO SUftEWOP WUBT
    CITY AND ZIP CODE: Paso Roblcs, CA 93446
        BRANCH NAME: P^so Roblcs Branch                                                                                            1\. ^fud, Bepuiy deiH
  CASE NAME:
      Sara B. Peraza and Joseph Parker v. Ford Motor Company
     CIVIL CASE COVER SHEET                                       Complex Case Designation
                                                                                                                  CASE NUMBER;
 iM I Unlimited   C   Limited                                                                                                          20CVP-0280
                                                                    Counter          ll   ll Joinder
         (Amount                    (Amount
                                                                                                                JUDGE:
         demanded                   demanded is            Filed with first appearance by defendant
         exceeds $25,000)           $25,000 or less)           (Cal. Rules of Court, ruie 3.402)                 DEPT:
                                       Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
    Auto Tort                                             Contract                                    Provisionally Complex Civil Litigation
   LJ Auto (22)                                           X I Breach of contractAvarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
   I      I Uninsured motorist (46)                     I I Rule 3.740 collections (09)               I__ I Antitrust/Trade regulation (03)
   Other PI/PDAVD (Personal Injury/Property             L_D Other collections (09)                    LD Construction defect (10)
   DamageAlVrongful Death) Tort                         L—J Insurance coverage (18)                   I     I Mass tort (40)
   1 - I Asbestos (04)                                  I I Other contract (37)                       I     i Securities litigation (28)
   LJ Product liability (24)                             Real Property                                I     I Environmentain'oxic tort (30)
   I      I Medical malpractice (45)                    I I Eminent domain/inverse                    I    I Insurance coverage claims arising from the
   I      I Other PI/PD/WD (23)                                 condemnation (14)                             above listed provisionally complex case
     Non-PI/PD/WD (Other) Tort                          I   I  Wrongful   eviction (33)                       types (41)
   j------1 Business tort/unfair business practice (07) I I Other real property (26)                  Enforcement of Judgment
   LJ Civil rights (08)                                 Unlawful Detainer                             I     I Enforcement of judgment (20)
   I      I Defamation (13)                             L_I    Commercial    (31)                     Miscellaneous Civil Complaint
   nZ\ Fraud (16)                                       CZ] Residential (32)                          ZZl RICO (27)
            Intellectual property (19)                  I I Drugs (38)                                I    I Other complaint (not specified ebove) (42)
            Professional negligence (25)                Judicial Review                               Miscellaneous Civil Petition
   [ZD Other non-PI/PDAWD tort (35)                     I I Asset forfeiture (05)
                                                                                                      ___ Partnership and corporate governance (21)
    Employment                                                  Petition re: arbllralion award (11) Q Olher pelition fdol apacffiedaOcve) (43)
   I      I Wrongful termination (36)                        J Writ of mandate (02)
   I      I Other employment (15)________                      Other judicial review (39)
2. This case             ] is    iXj is not       complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
     a.         Large number of separately represented parties               d. I I Large number of witnesses
     b.         Extensive motion practice raising difficult or novel e. I I Coordination with related actions pending in one or more courts
                issues that will be time-consuming to resolve                           in other counties, states, or countries, or in a federal court
     c.         Substantial amount of documentary evidence                   f.       ] Substantial postjudgment judicial supervision

3. Remedies sought (check all that apply): a.I X I monetary b.l         I nonmonetary; declaratory or injunctive relief                             c. |X [punitive
4. Number of causes of action (specify): 3
5. This case I      I is   K] is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form C
Date: August 25, 2020
                         SepehrDaghighian, Esq.
                                  (TYPE OR PRINT NAME)
                                                                                          ►             (SIGNATURE OF HjfRTY OR ATTORNEY FOR PARTY)
                                                                         NOTICE
  •   Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
  •   File this cover sheet in addition to any cover sheet required by local court rule.
  •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parlies to the action or proceeding.
  •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
  ------- --                                                           __________________________________________________________________                    Page 1 of 2
Form Adopied for Mandatory Use                                                                               Cal. Rules of Coun, rules 2,30,3.220, 3,400-3,1103, 3,740:
  Judicial Council of Cairfomia                           CIVIL CASE COVER SHEET                                     Cel, Standards of Judicial Admlnisiralton, std, 3.10
   CM-0t0(Rev. July 1.2007]                                                                                                                       www.ccurtinro.ca.gov
        Case 2:20-cv-08898-AB-AGR Document 1-3 Filed 09/28/20 Page 13 of 13 Page ID #:28
                                                                                                                                       CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. If you are fiiing a first paper (for example, a complaint) in a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 gtatistics'about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
 one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1.
 check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper, Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of Interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.
                                                            CASE TYPES AND EXAMPLES
 Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
      Auto (22)-Personal Injury/Property              Breach of ContractAVarranty (06)              Rules of Court Rules 3.400-3.403)
            DamageAVrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
      Uninsured Motorist (46) {if the                          Contract (not unlawful detainer            Construction Defect (10)
            case involves an uninsured                              or wrongful eviction)                 Claims Involving Mass Tort (40)
            motorist claim subject to                      ContractAA/arranty Breach-Seller               Securities Litigation (26)
            arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
           instead of Auto)                                Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PDAVD (Personal Injury/                               Warranty                                       (arising from provisionally complex
Property DamageAWrongful Death)                            Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open              Enforcement of Judgment
      Asbestos (04)                                        book accounts) (09)                            Enforcement of Judgment (20)
           Asbestos Property Damage                        Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
           Asbestos Personal Injury/                       Other Promissory Note/Collections                       County)
                 Wrongful Death                                Case                                           Confession of Judgment (non-
      Product Liability (not asbestos or             Insurance Coverage (not provisionally                         domestic relations)
           toxlc/envlronmental) (24)                       complex) (18)                                      Sister State Judgment
      Medical Malpractice (45)                             Auto Subrogation                                   Administrative Agency Award
           Medical Malpractice-                            Other Coverage                                         (not unpaid taxes)
                  Physicians & Surgeons              Other Contract (37)                                      Petition/Certification of Entry of
           Other Professional Health Care                  Contractual Fraud                                      Judgment on Unpaid Taxes
                  Malpractice                             Other Contract Dispute                              Oth^ Enforcement of Judgment
     Other PI/PD/WD (23)                         Real Property
           Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                 and fall)                                Condemnation (14)                              RICO (27)
           Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                              Other Complaint (not specified
                 (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)             above) (42)
          Intentional Infliction of                       Writ of Possession of Real Property                 Declaratory Relief Only
                 Emotional Distress                       Mortgage Foreclosure                                Injunctive Relief Only (non-
          Negligent Infliction of                         Quiet Title                                              harassment)
                 Emotional Distress                       Other Real Property (not eminent                    Mechanics Lien
          Other PI/PD/WD                                  domain, landlordAenant, or                          Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                                 foreclosure)                                             Case (non-tort/non-complex)
     Business Tort/Unfalr Business               Unlawful Detainer                                            Other Civil Complaint
         Practice (07)                               Commercial (31)                                              (non-tort/non-complex)
     Civil Rights (e.g., discrimination,                                                             Miscellaneous Civil Petition
                                                     Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal
          harassment) (08)                                                                                    Governance (21)
                                                          drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                    report as Commercial or Residential)
            (13)                                Judicial Review                                              above) (43)
    Fraud (16)                                                                                               Civil Harassment
                                                    Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                      Petition Re; Arbitration Award (11)
    Professional Negligence (25)                    Writ of Mandate (02)                                     Elder/Dependent Adult
         Legal Malpractice                                Writ-Administrative Mandamus                             Abuse
         Other Professional Malpractice                  Writ-Mandamus on Limited Court                      Election Contest
              (not medical or legal)                                                                         Petition for Name Change
                                                              Case Matter                                    Petition for Relief From Late
     Other Non-PI/PDAA/D Tort (35)                       Writ-Other Limited Court Case
Employment                                                                                                         Claim
    Wrongful Termination (36)                                Review                                          Other Civil Petition
    Other Employment (15)                           Other Judicial Review (39)
                                                         Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                           Commissioner Appeals
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                                                                                                                                       Page 2 of 2
                                                     CIVIL CASE COVER SHEET
